       Case 1:06-cr-00035-AW           Document 524        Filed 09/28/12      Page 1 of 1

                                                                                            Page 1 of 1


                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:06-cr-00035-MP-GRJ-3

BRUCE DAVID ADAMS,

      Defendant.
_____________________________/
                                            ORDER

       This matter is before the Court on Doc. 514, the Report and Recommendation of the

Magistrate Judge, recommending that Mr. Adams' motion under 28 U.S.C. § 2255 be denied.

The plaintiff filed objections, Doc. 523, and the Court has made a de novo determination of those

portions of the Report and Recommendation to which objection was made. 28 U.S.C. §

636(b)(1)(C).

       Upon consideration, the Court agrees with the Magistrate Judge that trial counsel was not

ineffective for declining to request a limiting or unanimity instruction from the Court because

such an instruction is not appropriate under the facts in this case. Also, the Court agrees that,

because the Court in fact made individualized findings that the defendant was fully aware of the

drug amounts involved in the conspiracy, declining to continue to challenge these amounts was

not ineffective assistance of trial or appellate counsel. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

        The Report and Recommendation of the Magistrate Judge, Doc. 514, is accepted and
incorporated herein. The motion under 28 U.S.C. § 2255, Doc. 440, is denied, and the Clerk is
directed to close the related civil case, 1:09-cv-00202-MP-GRJ. A certificate of appealability is
denied.

       DONE AND ORDERED this 28th day of September, 2012

                                                 s/Maurice M. Paul
                                                Maurice M. Paul, Senior District Judge
